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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF CONNECTICUT


  DEBORAH LAUFER,                                                  CIVIL ACTION
                                                                   No. 3:20-cv-00941-RNC
                                         Plaintiff,

                           - against –

NATRUM ASSOCIATES                                                  SEPTEMBER 9, 2020

                                         Defendant.

  DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS

               Defendant, Natrum Associates, submits the following Reply Memorandum in response to

Plaintiff’s Opposition to Motion to Dismiss and in further support of its Motion to Dismiss

pursuant Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). Plaintiff’s claim that she has

standing based upon nebulous allegations that she is a “tester” under the ADA and intends to re-

visit Defendant’s online reservation system and travel to Connecticut at some unknown time in the

future runs completely contrary to established law in this Circuit and epitomizes the idea of wasting

judicial resources, despite her own projection upon Defendant. Therefore, Defendant respectfully

requests that the Court dismiss the case with prejudice.

               I.     Plaintiff’s Statement in Support of the Opposition to Defendant’s Motion to
                      Dismiss is Improper and, Therefore, Should be Disregarded by the Court

               As an initial matter, Plaintiff’s signed statement submitted in support of the Opposition to

Defendant’s Motion to Dismiss should disregarded by the Court because it is improper.

Specifically, a plaintiff is not permitted to modify the complaint through an affidavit or other

papers filed in response to a motion to dismiss. See LoanCare v. Channer, Case No. 3:12-CV-590-

SRU, 2013 WL 3208565, at *1, n. 1 (D.Conn. June 24, 2013); Perrelli v. Prudential Ins. Co., Inc.,

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Case No. 3:07-CV-01797-VLB, 2008 WL 4307103, at *3 (D.Conn. September 19, 2008). Yet,

Plaintiff in the present matter attempts to do just that in an unfruitful attempt to establish standing.

Defendant contends that the Court must limit its assessment and decision solely to the allegations

contained in the Complaint.

               II.    Plaintiff Does Not Apply the Correct Standard to Defendant’s Motion to Dismiss

               Plaintiff is incorrect in her argument that the Court should apply the standards of Rules 56

or 12(b)(6) when evaluating Defendant’s Motion to Dismiss under Rule 12(b)(1). In particular, in

an attempt to support this conclusory argument, Plaintiff misapplies Dorchester Fin. Sec. Inc. v.

Branco BRJ, S.A., 722 F.3d 81 (2d Cir. 2013) to argue that the jurisdictional dispute in this case in

interwoven with the underlying merits and, resultantly, subject to the standards of Rules 56 or

12(b)(6). In that case, a Florida-based company sued a Brazilian bank in the jurisdiction of New

York. Id. at 82. The Brazilian bank then moved to dismiss the case for lack of personal jurisdiction

under Rule 12(b)(2)1, and the parties submitted documents to the Court relevant to the issue of

personal jurisdiction. See Id. at 83-84.

               Following the submissions, the Court decided to dismiss the case, however, the Second

Circuit reversed the Court’s decision stating that the lower court should have evaluated whether

the plaintiff, through its pleadings and affidavits, had made a prima facie showing of personal

jurisdiction. See Id. at 86. The Second Circuit further stated that particular facts of that case “may

present the unusual situation in which the jurisdictional dispute is interwoven with the underlying

merits” of the case such that it is necessary for those issues to be reserved for trial or the motion

be converted to a Rule 56 or 12(b)(6) motion. Id.



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 As this was a challenge to personal jurisdiction under Rule 12(b)(2), the Court was permitted to review materials
outside of the pleadings. The present case is therefore distinguishable because Defendant has brought a Motion to
Dismiss for lack of standing under Rule 12(b)(1).

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               In the present matter, Defendant’s Motion to Dismiss should be decided on the standards

set forth in Rules 12(b)(1) and 12(b)(6). This Court is not deciding the issue of personal

jurisdiction, and there is no evidence to conclude that this case falls under the unusual

circumstances standard stated by the Second Circuit in which the jurisdiction question is

interwoven with the underlying merits of the case. Here, the questions are simply whether Plaintiff

has standing and/or has stated a claim upon which relief may be granted. Plaintiff has failed to put

forth any persuasive argument to the contrary nor cite any case law supportive of her position.

Thus, it is further requested that the Court decide Defendant’s Motion to Dismiss under the

standards it has outlined in said motion.

               III.   Despite Plaintiff’s Assertions to the Contrary, She Clearly Lacks Standing to Bring
                      the Subject Lawsuit

               Plaintiff’s Opposition to Defendant’s Motion to Dismiss is ineffective in avoiding

established law in this circuit and further demonstrates Plaintiff’s lack of standing. Specifically,

because Plaintiff could not find Second Circuit case law that counters Defendant’s position, she

largely relies on non-binding cases from Florida, a number of which are only default judgments.

In contrast, Courts in cases this Plaintiff filed in the Northern District of New York have, sua

sponte, raised concerns over Plaintiff’s standing by spotting the same issues and citing the same

authority put forth by Defendant. See Laufer v. 110 Western Albany, LLC, Case No. 1:19-CV-

01324-BKS/ML, 2020 WL 2309083, at *1-2 (N.D.N.Y. May 8, 2020); Laufer v. Laxmi & Sons,

LLC, Case No. 1:19-CV-01501-BKS/ML, 2020 WL 2200207, at *1-5 (N.D.N.Y. May 6, 2020).

               According to Plaintiff, to have standing, she does not need any intention to book a room at

Defendant’s hotel or demonstrate any reason why she would possibly do so. Instead, she contends

that all she needs to allege is that she intends to revisit the online reservation system and/or visit

Connecticut at some unknown time in the future. However, pertinent law in this Circuit and others


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have found that a nebulous intention to revisit a website, without more concrete and particularized

plans, is insufficient to establish standing. In particular, a plaintiff must allege some intent or

likelihood that he or she will legitimately seek use of the defendant’s goods or services in the future

or will have a need to. See e.g. Dept. of Labor Fed. Credit Union, 912 F.3d 649 (4th Cir. 2019)

(ADA tester needed to allege an interest or need in obtaining the defendant’s services); Brintley v.

Aeroquip Credit Union, 936 F.3d 489 (6th Cir. 2019); Carello v. Aurora Policemen Credit Union,

930 F.3d 830 (7th Cir. 2019); Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1211 (11th Cir.

2013) (finding that an ADA tester had standing, in part, because he had been to the subject store

in the past, had an intention to return and was likely to do so were it not for the ADA violations);

Hernandez v. Caesars License Company, LLC, Civil No. 19-06090-RBK/KMW, 2019 WL

4894501, at *3 (D.N.J. October 4, 2019).

               Additionally, the few cases from this Circuit that Plaintiff cites in her Opposition to the

Motion to Dismiss does not support her argument. In particular, Plaintiff incorrectly cites Camacho

v. Vanderbilt University, Case No. 18 Civ. 10694-KPF, 2019 WL 6528974, at *11 (S.D.N.Y Dec.

4, 2019) for the proposition that cases such as Harty v. Greenwich Hosp. Group, LLC, 2012 WL

12895766 (D. Conn.), aff’d 536 Fed. Appx. 154 (2nd Cir. 2013) are “entirely irrelevant to analyzing

standing in cases involving website discrimination.” Plaintiff’s Opposition to Motion to Dismiss,

p. 7. The Camacho case did not involve hotels, but, instead the plaintiff alleged that a college

website was inaccessible and violated the ADA. Camacho, at *1. In deciding standing, the Court

examined and compared Harty with Kreisler v. Second Ave. Diner Corp., 731 F.3d 184, 187 (2nd

Cir. 2013), cert. denied, 572 U.S. 1115 (2014). As pointed out by Defendant in its Motion to

Dismiss, the Court held in the Harty case that the plaintiff did not have standing despite him

alleging that he encountered barriers at the hotel, traveled to the area regularly and had plans to



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return. Harty, at *1. In contrast, the plaintiff in Kreisler alleged that a restaurant in his

neighborhood was inaccessible, he passed the restaurant regularly, and he would go into the

restaurant if it was accessible. Kreisler, at 188. The Court in Camacho held that the plaintiff’s

allegations in that case were much closer to those alleged in Kreisler because the plaintiff planned

to attend a four year college, he attended a college fair to get more information, afterwards he

visited the defendant’s website to learn more about the college, and intended to visit the college’s

campus and apply for admission. Camacho, at *10.

               Contrastingly, in the present case, Plaintiff’s allegations are clearly closer to those asserted

in Harty and, therefore, distinguishable to Camacho. More specifically, although the Court in

Camacho found standing, in part, due to the plaintiff’s alleged plan to return to the defendant’s

website, it was accompanied by clear and particularized intentions to attend a four year college,

visit the defendant’s campus, and utilize or attempt to utilize the defendant’s educational services.

Plaintiff in this case falls short of this standard because she has no clear and concrete plans to

travel to Connecticut and has alleged no reason to reasonably infer that she will actually travel to

Connecticut or visit Defendant’s hotel. Plaintiff cannot establish standing with vague, unknown

allegations of the future. As outlined in the controlling case law, more is required.

               Moreover, Plaintiff’s Opposition further lacks merit through her disingenuous attempt to

discredit the Court’s decision in Hernandez v. Caesars License Company, LLC, Civil No. 190609-

RBK/KMW, 2019 WL 4894501 (D.N.J. October 4, 2019). In that case, the Court dismissed

the “tester” plaintiff’s complaint holding that the defendant’s alleged non -disclosure of

accessibility information could conceivably harm a person with disabilities, provided that

person was actually looking for a lodging in the area of the hotel. Plaintiff incorrectly argues

that Hernandez erroneously cites Juscinska v. Paper Factor Hotel, LLC, 18-CV-8201-ALC,



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2019 WL 2343306, at *1 (S.D.N.Y. June 3, 2019) for the proposition that an intent to actually

book a room is a requirement for standing, claiming that the Court in Juscinska only mentions

this requirement in dicta. In reality, in Juscinska, the plaintiff alleged that she was planning a

“stay-cation” and was trying to reserve a room at the defendant’s hotel when she discovered

that the website was inaccessible. Id. at *1. Any reasonable reading of the opinion shows that

this fact- the plaintiff claiming that she actually needed a room and could not determine

whether the hotel accommodated her disability- is not dicta, it is what the Court used to find

standing in that case. See Id. at *3.

               Plaintiff also wrongly claims that Hernandez is an aberration as she ignores the

multiple cases cited by Defendant in its Memorandum of Law in Support of the Motion to

Dismiss that fall in the line with the standards established in Harty and which support the

Court’s holding in Hernandez. Furthermore, there is even more case law from this circuit that

bolsters the decision in Hernandez. For example, in Rizzi v. Hilton Domestic Operating Co.,

Inc., Case No. CV-18-1127-SJF/ARL, 2019 WL 5874327, at *1 (E.D.N.Y. July 18, 2019), the

plaintiff, whom was blind, alleged that while attempting to utilize the defendant’s website to

discover more information about the services and products available, as well as to make a

reservation, he discovered that the website was not compatible with screen reading softwa re.

The defendant then moved to dismiss the case for lack of subject matter jurisdiction, which

the Court granted because the plaintiff had failed to allege sufficient facts to show that he

suffered a concrete and particularized injury under the ADA. Id. at 6. See also Mendez v.

Apple, Inc. (The Court found that the plaintiff lacked standing despite allegations that the

defendant’s website was inaccessible because, among other reasons, the plaintiff failed to

allege what good or service she was prevented from purchasing); Harty v. Nyack Motor Hotel,



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Inc. Case No. 19-CV-1322-KMK, 2020 WL 1140783, at *1 (S.D.N.Y. March 9, 2020) (The

Court dismissed a similar case pursuant to Rule 12(b)(6) for failure to state a claim upon

which relief can be granted).

               This reasoning has also been consistent with decisions from other circuits and further

supports Defendant’s position in this case. In Griffin v. Department of Labor Credit Union,

et al., 912 F.3d 649 (4th Cir. 2019) and Brintley and Carello, supra, “tester” plaintiffs whom

were bling filed lawsuits against credit unions alleging that their websites were inaccessible

in violation of the ADA and further alleged, like Plaintiff in the present case, that they would

return to the website to test its compliance with the ADA. The Fourth, Sixth, and Seventh

circuits each held that the plaintiffs did not have standing because they were not eligible for

and expressed no interest in joining the credit unions. Griffin, 912 F.3d at 657; Brintley, 936

F.3d at 491, 494; Carello, 930 F.3d at 832, 835-36. This is squarely what the Court is faced

with in this case. Plaintiff is claiming to be a “tester” whom has no reason or real intention to

actually avail herself of Defendant’s services. Therefore, Defendant respectfully requests t hat

the Court decide this case based upon the law set forth by this circuit, as well as numerous

other circuits, and find that Plaintiff has no standing.

               IV.    Plaintiff’s Claim that the Rules of Statutory Construction Avoid a
                      Determination of Standing is Misplaced

               Plaintiff spends a great deal of time in her Opposition arguing that the rules of statutory

construction eliminate the requirement that Plaintiff must allege an intent to actually avail

herself of the services provided by Defendant. In effect, it’s Plaintiff’s position that an

analysis of standing is not required, which is wholly inaccurate. A showing of standing is

paramount and must be examined in every case. See Lujan v. Defs. of Wildlife, 504 U.S. 555,




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560 (1992) (“the core component of standing is an essential and unchanging part of the case-

or-controversy requirement of Article III”).

               In an attempt to support her position, Plaintiff mainly relies on PGA Tour v. Martin,

532 U.S. 661 (2001) and Houston v. Marod Supermarkets, Inc., 733 F.3d 1323 (11 th Cir.

2013). As an initial matter, the PGA Tour case did not have anything to do with the principle

of standing, and Plaintiff misleadingly contends that Marod held a plaintiff’s “motive and

intent are entirely irrelevant…” Opposition, p. 18. In fact, the Court in Marod held that a

party’s motive as a tester did not, by itself, negate standing, however, the Court also did not

state that the tester status alone conferred standing. A tester status must still be accompanied

by allegations establishing an intent that a plaintiff would want or have a legitimate use for

the defendant’s services. Marod, 733 F.3d at 1334, 1337.

               Plaintiff further relies on Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982) for

the contention that encountering discriminatory information is sufficient to confer standing.

Opposition, p. 20. However, Plaintiff in this case does not allege that the websites at issue

contain discriminatory information. Instead, she alleges that the websites do not adequately

describe accessible features at Defendant’s hotel. 2 This is nowhere near the factual

background of Havens where an African American tester received misinformation about the

availability of apartments while Caucasian testers received the correct information. Thus, the

African American tester in Havens actually experienced discrimination.

               In the present matter, as the Court notes in Hernandez, without an allegation of an

intent to actually reserve a room in Defendant’s hotel, or some other allegation alleging a



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 Plaintiff also cites to Federal Election Commission v. Akins, 524 U.S. 11 (1998) for an example of a cause of action
premised upon an inability to obtain information. Yet, in that case, the plaintiffs showed that the non-disclosure caused
actual harm by impeding their ability to evaluate candidates for public office.

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particularized and concrete injury, Plaintiff has no standing. See Hernandez, supra, 2019 WL

4894501 at *4; see also Hernandez v. Caesars License Co., LLC, Case No, CV-19-6087, 2019

WL 6522740, at *2 (D.N.J. December 4, 2019) (considering nearly identical allegations and

finding that the plaintiff had “alleged only a generalized grievance that is not particular to

him, and he therefore has failed to allege facts sufficient to support Article III standing”).

               V.    Plaintiff’s Claims Must Also Be Dismissed Because 28 C.F.R. Section 36.302
                     is Not Enforceable Through the ADA’s Private Right of Action

               As started in its Memorandum of Law in Support of its Motion to Dismiss, Defendant

contends that Plaintiff does not have a private right of action under 28 C.F.R. Section 36.302

because the requirements it imposes cannot be found anywhere in the plain language of the ADA.

Plaintiff refers to no authority rebuffing Defendant’s position and, instead, besmirches Defendant

and counsel by claiming, among other things, that they intentionally tried to mislead the Court.

This is patently false and uncalled for. In reality, if counsel for Plaintiff bothered to read the

commentary to the pertinent Final Rule instead of commenting on where Defendant researched

and obtained good faith arguments for dismissal, she would see that websites were clearly not

contemplated and were, in fact, expected to be addressed in the future. Any other distraction put

forth by Plaintiff is irrelevant to the analysis and is being made purely to confuse the actual issues.

               WHEREFORE, Defendant, Natrum Associates, respectfully requests that the Court

dismiss Plaintiff’s Complaint or, alternatively, that it permit limited discovery on the issue of

standing and schedule a hearing on the issue before proceeding with further litigation.




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                                                    Respectfully submitted,

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                                       CERTIFICATE OF SERVICE

               I hereby certify that on September 9, 2020 a copy of the foregoing Reply to Opposition to

Motion to Dismiss was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system or by mail to anyone unable to accept electronic filing as indicated

on the Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF

System.


                                            /s/ Thomas H. Houlihan, Jr.




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